            Case 2:23-cv-00631-KKE Document 73 Filed 09/01/23 Page 1 of 5




 1                                                    HONORABLE JOHN H. CHUN

 2

 3

 4

 5

 6                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                 AT SEATTLE

 8   SHENZHEN ROOT TECHNOLOGY CO., LTD., Case No. 2:23-cv-631
     HONG KONG LUTE TECHNOLOGY CO.,
 9   LIMITED, AND SHENZHEN CONGLIN E-
     COMMERCE CO., LTD.,
10                                       STIPULATION AND PROPOSED
                    Plaintiffs,          ORDER TO EXTEND CASE
11                                       DEADLINES
          v.
12
     CHIARO TECHNOLOGY LTD.,
13
                       Defendant.
14

15   CHIARO TECHNOLOGY LTD.,
16                     Counterclaim Plaintiff,
17   v.
18   SHENZHEN ROOT TECHNOLOGY CO., LTD.,
     HONG KONG LUTE TECHNOLOGY CO.,
19   LIMITED,  SHENZHEN     CONGLIN   E-
     COMMERCE CO., LTD, SHENZHEN ROOT E-
20   COMMERCE CO., LTD., SHENZHEN TPH
     TECHNOLOGY CO., LTD., SHENZHEN
21   JINRUIXING TECHNOLOGY CO., LTD.,
     SHENZHEN LUTEJIACHENG NETWORK
22   TECHNOLOGY CO., LTD., and SHENZHEN
     JINRUIHANG TECHNOLOGY CO., LTD.,
23
                       Counterclaim Defendants.
24

25



                                                     DORSEY & WHITNEY LLP
                                                             COLUMBIA CENTER
     STIPULATION AND PROPOSED ORDER - 1                701 FIFTH AVENUE, SUITE 6100
     2:23-cv-00631                                       SEATTLE, WA 98104-7043
                                                           PHONE: (206) 903-8800
                                                           FAX: (206) 903-8820
              Case 2:23-cv-00631-KKE Document 73 Filed 09/01/23 Page 2 of 5




 1          Pursuant to LCR 7(d)(l), Counterclaim Plaintiff Chiaro Technology Ltd. (“Counterclaim

 2 Plaintiff”) and Counterclaim Defendants Shenzhen Root Technology Co., Ltd., Hong Kong Lute

 3 Technology Co., Limited, Shenzhen Conglin Ecommerce Co. Ltd., Shenzhen Jinruihang

 4 Technology Co., Ltd., and Shenzhen Lutejiacheng Network Technology Co., Ltd. (collectively,

 5 “Moving Counterclaim Defendants”), through their respective undersigned counsel, hereby

 6 stipulate to extend the time for Moving Counterclaim Defendants to answer or otherwise respond

 7 to Counterclaim Plaintiff’s Counterclaim (Dkt. 69). The extension would move the deadline for

 8 responding to the Counterclaim by 30 days to October 5, 2023.
 9          Counterclaim Plaintiff and Counterclaim Plaintiff’s counsel further agree and acknowledge

10 that, other than the defense of insufficient service, this stipulation does not constitute a waiver of

11 any defense of Moving Counterclaim Defendants, including but not limited to the defense of lack

12 of personal jurisdiction or improper venue.

13          The parties respectfully submit that there is good cause for this stipulation. The extension

14 of time is reasonable under the circumstances, as the Counterclaim was filed on August 14, 2023,

15 comprises over 400 pages together with the Answer and exhibits, and will require counsel for

16 Counterclaim Defendants to respond on behalf of five Moving Counterclaim Defendants, all of

17 whom are located in China with limited English-speaking capability. The extension will not

18 interfere with any other case deadlines, and no other deadlines need to change.
19          Accordingly, the parties respectfully request that the Court extend the deadline for Moving

20 Counterclaim Defendants to answer or otherwise respond to the Counterclaim, as set forth in this

21 stipulation.

22

23

24

25



                                                                     DORSEY & WHITNEY LLP
                                                                             COLUMBIA CENTER
     STIPULATION AND PROPOSED ORDER - 2                                701 FIFTH AVENUE, SUITE 6100
     2:23-cv-00631                                                       SEATTLE, WA 98104-7043
                                                                           PHONE: (206) 903-8800
                                                                           FAX: (206) 903-8820
            Case 2:23-cv-00631-KKE Document 73 Filed 09/01/23 Page 3 of 5




 1 IT IS SO ORDERED this ___ day of September, 2023.

 2 _____________________________

 3 HONORABLE JOHN H. CHUN

 4 UNITED STATES DISTRICT JUDGE

 5

 6   DATED this 1st day of September, 2023
 7

 8
     STERNE KESSLER GOLDSTEIN & FOX            DORSEY & WHITNEY LLP
 9   PLLC
10

11   /s/Josephine Kim                          /s/Paul T. Meiklejohn
     Nirav Desai                               PAUL T. MEIKLEJOHN WSBA # 17477
12
     Josephine Kim                             ERIN KOLTER WSBA #53365
13   Richa Patel                               ROBERT J.M. LEE WSBA # 49971
     STERNE KESSLER GOLDSTEIN & FOX            Dorsey & Whitney LLP
14   PLLC                                      Columbia Center
     1100 New York Avenue, NW, Suite 600       701 Fifth Avenue, Suite 6100
15   Washington, DC 20005                      Seattle, WA 98104
16   Telephone: 202.772.8904                   (206) 903-8800
     Email: joskim@sternekessler.com           Emails: meiklejohn.paul@dorsey.com
17          ndesai@sternekessler.com                    kolter.erin@doresy.com
            rpatel@sternekessler.com                    lee.robert@dorsey.com
18
19                                             ATTORNEYS FOR PLAINTIFFS
                                               SHENZHEN ROOT TECHNOLOGY CO.,
20   ATTORNEYS FOR DEFENDANT AND               LTD., HONG KONG LUTE
     COUNTERCLAIM PLAINTIFF CHIARO             TECHNOLOGY CO., LIMITED, AND
21   TECHNOLOGY, LTD.                          SHENZHEN CONGLIN E-COMMERCE
                                               CO., LTD. AND COUNTERCLAIM
22                                             DEFENDANTS SHENZHEN ROOT
                                               TECHNOLOGY CO., LTD., HONG KONG
23                                             LUTE TECHNOLOGY CO., LIMITED,
                                               SHENZHEN CONGLIN E-COMMERCE
24                                             CO., LTD., SHENZHEN JINRUIHANG
                                               TECHNOLOGY CO., LTD., AND
25                                             SHENZHEN LUTEJIACHENG NETWORK
                                               TECHNOLOGY CO., LTD.


                                                        DORSEY & WHITNEY LLP
                                                                COLUMBIA CENTER
     STIPULATION AND PROPOSED ORDER - 3                   701 FIFTH AVENUE, SUITE 6100
     2:23-cv-00631                                          SEATTLE, WA 98104-7043
                                                              PHONE: (206) 903-8800
                                                              FAX: (206) 903-8820
             Case 2:23-cv-00631-KKE Document 73 Filed 09/01/23 Page 4 of 5




 1                                 CERTIFICATE OF SERVICE

 2         I hereby certify that on this date I caused to be served the foregoing on the following

 3 counsel of record via ECF Notification:

 4   Brian C. Park                                  Mark P Walters
     Jacqueline Middleton                           Mitchell D West
 5   STOEL RIVES LLP                                LOWE GRAHAM JONES PLLC
 6   600 University Street, Suite 3600              1325 Fourth Avenue, Suite 1130
     Seattle, WA 98101                              Seattle, WA 98101
 7   Telephone: 206.386.7542                        Telephone: 206.850.8088
     Facsimile: 206.386.7500                        Email: walters@lowegrahamjones.com
 8   Email:brian.park@stoel.com                     west@lowegrahamjones.com
             jacqueline.middleton@stoel.com
 9

10   Qianwu Yang (pro hac vice)                     Josephine Kim
     Xiaomin Cao (pro hac vice)                     Nirav Desai
11   SHM LAW FIRM                                   Richa Patel
     25 F, China Resources Tower,                   STERNE KESSLER GOLDSTEIN & FOX
12   2666 Keyuan South Rd., Nanshan                 PLLC
     Shenzhen, China 518052                         1100 New York Avenue, NW, Suite 600
13
     Tel.: +86 139 2521 2009                        Washington, DC 20005
14   Fax: +86 755 8326 6693                         Telephone: 202.772.8904
     Email: yang@shm.law                            Email: joskim@sternekessler.com
15           cao.xiaomin@shm.law                          ndesai@sternekessler.com
                                                          rpatel@sternekessler.com
16   Eric R Chad
17   MERCHANT & GOULD (MN)
     150 S Fifth Street, Suite 2200
18   Minneapolis, MN 55402
     Telephone: 612.332.5300
19   Email: echad@merchantgould.com
20   Joshua A Hartman
21   MERCHANT & GOULD (VA)
     1900 Duke Street, Suite 600
22   Alexandria, VA 22314
     Telephone: 703.684.2500
23   Email: jhartman@merchnatgould.com
24
           Dated this 1st day of September, 2023.
25



                                                                DORSEY & WHITNEY LLP
                                                                        COLUMBIA CENTER
     STIPULATION AND PROPOSED ORDER - 4                           701 FIFTH AVENUE, SUITE 6100
     2:23-cv-00631                                                  SEATTLE, WA 98104-7043
                                                                      PHONE: (206) 903-8800
                                                                      FAX: (206) 903-8820
            Case 2:23-cv-00631-KKE Document 73 Filed 09/01/23 Page 5 of 5




 1                                           /s/Paul T. Meiklejohn
                                             Paul T. Meiklejohn
 2

 3

 4

 5

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25



                                                       DORSEY & WHITNEY LLP
                                                               COLUMBIA CENTER
     STIPULATION AND PROPOSED ORDER - 5                  701 FIFTH AVENUE, SUITE 6100
     2:23-cv-00631                                         SEATTLE, WA 98104-7043
                                                             PHONE: (206) 903-8800
                                                             FAX: (206) 903-8820
